                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
              Plaintiff,                         )
                                                 )
 v.                                              )      No.:   3:10-CR-53-1
                                                 )             (VARLAN/SHIRLEY)
 RAYNARD DAVIS,                                  )
                                                 )
              Defendant.                         )


                                         ORDER

       This criminal case is before the Court for consideration of the Report and

 Recommendation, entered by United States Magistrate Judge C. Clifford Shirley, Jr., on

 March 28, 2012 (the “R&R”) [Doc. 395]. There have been no timely objections to the R&R

 and enough time has passed since the filing of the R&R to treat any objections as having

 been waived. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); Fed. R. Crim. P. 51. In the

 R&R, Magistrate Judge Shirley recommends that the defendant’s Motion to File Notice of

 Appeal Nunc Pro Tunc to: May 10, 2011 [Doc. 385] be granted and the defendant’s Notice

 of Appeal [Doc. 384] be filed nunc pro tunc to May 10, 2011; recommends that the

 defendant’s Motion to Proceed In Forma Pauperis [Doc. 389] be granted and that the

 defendant be permitted to proceed on appeal without payment of fees or costs; and

 recommends that the defendant’s pro se request [Doc. 388] for the appointment of counsel

 be denied as moot.




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       After a careful review of the R&R, the Court is in agreement with Magistrate Judge

 Shirley’s recommendations, which the Court adopts and incorporates into its ruling. Thus,

 the Court ACCEPTS IN WHOLE the R&R [Doc. 395] and GRANTS the defendant’s

 Motion to File Notice of Appeal Nunc Pro Tunc to: May 10, 2011 [Doc. 385]; GRANTS the

 defendant’s Motion to Proceed In Forma Pauperis [Doc. 389], thus permitting the defendant

 to proceed on appeal without payment of fees or costs; and DENIES as moot the defendant’s

 pro se request [Doc. 388] for the appointment of counsel. It is also ORDERED that the

 defendant’s Notice of Appeal [Doc. 384] be filed nunc pro tunc to May 10, 2011.

       IT IS SO ORDERED.



                                          s/ Thomas A. Varlan
                                          UNITED STATES DISTRICT JUDGE




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